 Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 1 of 6 PAGEID #: 150




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                  2:20-cr-204
   V.                                                       CHIEF JUDGE MARBLEY

RICHARD J. RODGERS,
    aka "Country,"

                Defendant,

    and


DONALD E. METHENEY,

                Third-Party Petitioner.


                        STIPULATED SETTLEMENT AGREEMENT

        WHEREAS, on June 15, 2021, the Court entered an Amended Preliminary Order of

Forfeiture (Doc. 27) that, among other things, provided for the forfeiture of the following firearm

to the United States:

               A Sig Saner P250,9mm handgun, SN: EAK185340.

        AND WHEREAS, the designated agent with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives ("ATP") notified the United States that this firearm had previously been reported

stolen with the Washington County, Ohio Sheriff's Office by Donald E. Metheney. The ATF

further advised the United States that the theft victim would like the firearm returned to him at the

conclusion of this case.


        AND WHEREAS, Donald E. Metheney filed a Seized Asset Claim Form (attached hereto

as Exhibit A) with the United States asserting himself as the lawful owner of the Sig Sauer 9mm

handgun, bearing Serial Number EAK185340.
 Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 2 of 6 PAGEID #: 151




       NOW THEREFORE, in the interest of fully resolving this matter in all aspects. Plaintiff,

the United States of America ("United States"), and Petitioner, Donald E. Metheney ("Petitioner

Metheney"), HEREBY STIPULATE and AGREE as follows:

       1.      The Sig Sauer P250, 9mm handgun, bearing Serial Number EAKl85340 ("the

subject firearm"), was lawfully seized by authorized law enforcement officers during the

investigation in this criminal case.

       2.      Any violations of 21 U.S.C. § 841 and/or 21 U.S.C. § 846 involwng Defendant

Richard J. Rodgers occurred without the knowledge and/or consent of Petitioner Metheney.

Petitioner Metheney is not guiltyof violating anyfederal lawas a resultof his interest in thesubject

firearm.


       3.      The United States shall release the subject firearm, which is more specifically

described as a Sig Sauer P250, 9mm handgun, bearing Serial Number EAKl 85340, to Petitioner

Metheney in fiill settlement of his claim.

       4.      Petitioner Metheney agrees to accept the subject firearm in its current, "as is"

condition.

        5.     Petitioner Metheney agrees to release and hold harmless the United States, and any

agents, servants, and employees ofthe United States (or any state or local law enforcement agency)

acting in their individual or official capacities, from any and all claims by Petitioner Metheney

which currently exist, or which may arise as a result ofthe United States' action against the subject

firearm.

        6.     The United States agrees that upon entry of this Court's acceptance of this

Stipulated Settlement Agreement it will advise thedesignated agent with the ATP, as custodian of

the subject firearm, to contact Petitioner Metheney to facilitate the release of the subject firearm.
 Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 3 of 6 PAGEID #: 152




               a.      Petitioner Metheney agrees to complete all documents required by the ATF

               to facilitate the release of the firearm.

               b.      As of the date of execution of this Stipulated Settlement Agreement, the

               parties agree that Petitioner Metheney is not prohibited from possessing a firearm.

               Petitioner Metheney understands that prior to releasing the subject firearm to him,

               the designated agent with the ATF, or any other authorized federal, state, or local

               law enforcement agency, will verify this information again.          If at that time.

               Petitioner Metheney is found to be prohibitedfrom possessing a firearm, the parties

               agree that this Stipulated Settlement Agreement will be void.

       7.      The parties agree that the terms of this Stipulated Settlement Agreement are

contingent upon the Court's approval. Violation of any terms or conditions herein shall be

construed as a violation of an Order of this Court.

       8.      Petitioner Metheney understands that unless specifically directed by an Order of

the Court, he shall be excused and relieved from further participation in this action.

       9.      The parties agree that each shall bear its own costs and attorney's fees. Petitioner

Metheney agrees to waive any and all rights he may have to recover attorney's fees under the

Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412, the Civil Asset Forfeiture Reform Act

(CAFRA), 28 U.S.C. § 2465, or any other legal or statutory basis.

       10.     This Stipulated Settlement Agreement constitutes the final, complete, and exclusive

agreement and understanding between the United States and Petitioner Metheney with respect to

the settlement provided herein and supersedes all prior agreements and understandings, if any,

whether oral or written. No other document, nor any representation, inducement, agreement,

understanding, or promise constitutes any part of this Stipulated Settlement Agreement or the
 Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 4 of 6 PAGEID #: 153




settlement provided herein, norshall it beused inconstruing the terms ofthisStipulated Settlement

Agreement. For purpose of construction, this Stipulated Settlement Agreement shall be deemed

to have been drafted by all parties and shall not, therefore, be construed against any party in any

subsequent dispute, including but not limited to any proceeding in which the United States seeks

to enforce the terms of this Stipulated Settlement Agreement.

         11.   The parties agree that the United States District Court for the Southern District of

Ohio, Eastern Division shall retain jurisdiction of this action to enforce this settlement.



 Date;
                                                Donald e. metheney
                                                Third-Party Petitioner

                                                VIPAL J. PATEL
                                                Acting United States Attorney

 Date:
                                                TIMOTHY D.'PRICHARD (0059455)
                                                Assistant United States Attorney
                                                Attorney for Plaintiff


                                      COURT APPROVAL


         This Stipulated Settlement Agreement is approved by this Court this                  day of

                           ,2021.




                                                                        rONL^IARSLEY
                                               CHIEF       fTED STAXESIWRICT JUDGE
         Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 5 of 6 PAGEID #: 154



                                           SEIZED ASSET CLAIM FORM
     UnitGd States v. ^.'Chard J. Rodgers, aka "Country"
     Criminal Case No. 2:20-cr-204




PART I: Enter your contact information

Name
     ^DnhalA AA-e.-fi^&n&Y ir
Address: [Include Street, City, State and Zip Code] /JZ ^
Po BoXl>O'^AJe\jiJpnyi-0
Telephone Number:                                        Email Address: (optional)
 IQo                           LL
Attorney Name: (if applicable)


Attorney Address (if applicable): [Include Street, City, State and Zip Code]



Attorney Telephone Number: (if applicable)               Attorney EmailAddress: (if applicable)



PART II: List all assets you are claiming
State your Interest in each asset listed and explain why you believe the property belongs to you. You may
attach documents to support your claim, if claiming more than three assets, continue on a separate page.
1.     Asset ID Number:                     Description of Asset:   A Sig Saucr P250, 9mm handgun, SN: EAK185340

       Interestin Property: ^/C7                                                    SA/-          /} t( 1
                              quvi                                           J^ravn vv>y                          -fhcn
       itvU.                        +K««r// ci/A atnA U^n-4 to                               i-A
2.     Asset ID Number:                     Desaiptlon of Asset:


       Interest in Property:




3.     Asset ID Number:                     Description of Asset:
                          N/A


       Interest in Property:




                                                                                                            EXHIBIT

                                                                                                              A
          Case: 2:20-cr-00204-ALM Doc #: 34 Filed: 09/08/21 Page: 6 of 6 PAGEID #: 155




PART III; Declaration


I attest and declare under penalty of perjury that my claim is not frivolous and the information provided In
support of my claim Is true and correct to the best of my knovi/ledge and belief.




Name Printed



                  VvXiMiiAAjL^
signature




Date




If a courtfinds that a claimant's assertion of an interest in property wasfrivolous, the court may impose a civil
fine. 18 U.S.C. § 983(h). Afalse statement or claim may subject a person to prosecution under 18 U.S.C.
§ 1001.
